
PER CURIAM.
After reviewing the briefs and record on appeal, we find the appellant has failed to demonstrate any reversible error; therefore, the judgments appealed are affirmed. The judgment and sentence of the court in case number 76-2026 (trial court no. 76-2366); while indicating the appellant was to receive credit for all time served in jail, does not specifically set forth the period of credit time to be allowed as required by Section 921.161(1) Florida Statutes. Smith v. State, 310 So.2d 770 (Fla.2d DCA 1975).
Remanded for correction of sentence in case no. 76-2026; otherwise affirmed. Appellant need not be present for this purpose.
BOARDMAN, C. J., and HOBSON and GRIMES, JJ., concur.
